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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

Shelly Carter and
Rosemarie Cataldo,

)
)
Plaintiffs, ) Civil Action No.
) 3:22-cv-00298-JAM
v. )
)
City of Hartford, )
Defendant. )

JOINT STATUS REPORT

Pursuant to the Court's Order, dated March 27, 2025, the parties submit the
following joints status report:

The Parties have complied with the Court's order regarding settlement demands
and counteroffers. The Parties were not able to reach a resolution of the case.

On April 30, 2025, the Parties conducted a status conference with the Honorable

Judge Vatti, pursuant to which the Parties will resume mediation of this matter on or about

June 2, 2025.
For Plaintiffs For Plaintiffs For Defendant
/s/ Ryan A. O'Neill /s/ Michaela M. Weaver [By _/s/ Alexandria L. Voccio
Ryan A. O'Neill, Esq. Michaela M. Weaver (PHV) Alexandria L. Voccio
Bar No. ct28345 MA BBO 705985 ct21792
The Law Offices of Mark John T. Martin PHV), Maccini Voccio & Jordan, LLC
Sherman MA BBO 676344 1090 Elm Street, Suite 200A
29 Fifth Street Keches Law Group Rocky Hill, CT 06067
Stamford, CT 06905 100 Front Street Main: (860) 740-2535
(203) 358-4700 Suite 2010 (20th Floor) Direct: (860) 740-2536
ryan@markshermanlaw.com Worcester, MA 01608 avoccio@mvyjlawfirm.com

jmartin@kecheslaw.com
mweaver@kecheslaw.com
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CERTIFICATE OF SERVICE

| hereby certify that on the date set forth below a copy of the foregoing was served
by CM/ECF and/or mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by email to all parties by operation of the Court’s electronic filing system or by
mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.

Date: May 1, 2025 By: /s/RyanA. O'Neill

